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                                         UNITED STATES DISTRICT COURT
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                              CENTRAL DISTRICT OF CALIFORNIA, WESTERN DIVISION
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                 ZELUS FILM HOLDING COMPANY,                    Case No. 2:20-cv-10658-SVW-RAO
              11 LLC, a Delaware limited liability
                 company,                                       The Hon. Stephen V. Wilson
              12
                             Plaintiff,                         ORDER FOR DISMISSAL
              13
                       vs.
              14                                                Trial Date:      June 15, 2021
                 APOLLOMEDIA GMBH & CO. 5
              15 FILMPRODUKTION KG, a company
                 organized under the laws of Germany;
              16 APOLLOMEDIA GMBH, a company
                 organized under the laws of Germany
              17 and DOES 1 through 100,
              18                 Defendants.
              19
                   AND RELATED CROSS-ACTION
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EISNER, LLP        775827.2
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                                               ORDER FOR DISMISSAL
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              1               Pursuant to the Stipulation of Voluntary Dismissal with Prejudice filed by the
              2 Parties, IT IS HEREBY ORDERED that:
              3               (i) This action, including all claims and counterclaims against all Parties, is
              4 dismissed with prejudice; and
              5               (ii) The Parties shall bear their own attorneys’ fees and costs.
              6 IT IS SO ORDERED.
              7
              8
                         May 3, 2021
              9 DATED: ___________________
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              11
                                                             By:
              12
                                                                   Hon. Stephen V. Wilson
              13                                                   United States District Judge
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EISNER, LLP        775827.2
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                                                    ORDER FOR DISMISSAL
